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 10 Attorneys for Plaintiffs
 11                       UNITED STATES DISTRICT COURT
 12                      CENTRAL DISTRICT OF CALIFORNIA
 13                                WESTERN DIVISION
 14 UNIVERSAL CITY STUDIOS         )
    PRODUCTIONS LLLP; UNIVERSAL ) Case No. 2:21-cv-09361-AB (MRWx)
 15 CITY STUDIOS LLC; UNIVERSAL )
    TELEVISION LLC; UNIVERSAL
 16 CONTENT PRODUCTIONS LLC;       ) DECLARATION OF JAN VAN
    DREAMWORKS ANIMATION LLC; ) VOORNFOR
                                               IN SUPPORT OF MOTION
                                           PRELIMINARY        INJUNCTION
 17 DISNEY ENTERPRISES, INC.;      )
    PARAMOUNT PICTURES             )
 18 CORPORATION; AMAZON            ) Judge:       Hon. Andre Birotte Jr.
    CONTENT SERVICES LLC; APPLE )
 19 VIDEO PROGRAMMING LLC;           Date:        January 7, 2022
                                   )
    WARNER BROS. ENTERTAINMENT Time:              10:00 a.m.
 20 INC.; NETFLIX US, LLC;         ) Courtroom: 7B
    COLUMBIA PICTURES              )
 21 INDUSTRIES, INC.; and, SCREEN  )
    GEMS, INC.                     ) Filed concurrently herewith:
 22                                ) (1) Motion for Preliminary Injunction
                       Plaintiffs,
 23                                ) (2) Declaration of Steve Kang
          vs.                      ) (3) Declaration of Sean M. Sullivan
 24                                ) (4) [Proposed] Preliminary Injunction
    DWAYNE ANTHONY JOHNSON         )
 25 d/b/a ALLACCESSTV and QUALITY )
    RESTREAMS; and DOES 1-20,      ) Action Filed: December 2, 2021
 26
                       Defendants. ) Trial Date: None Set
 27                                )
                                   )
 28                                )



      DECLARATION OF JAN VAN VOORN ISO PLTF’S MOTION FOR PRELIMINARY INJUNCTION
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  1                       DECLARATION OF JAN VAN VOORN
  2         I, Jan van Voorn, declare as follows:
  3         1.     I am Executive Vice President and Chief, Global Content Protection
  4 (“GCP”) Enforcement and Operations, at the Motion Picture Association (“MPA”),
  5 where I have worked since 2013. I have worked in the field of intellectual property
  6 infringement, enforcement, investigations, and litigation for 14 years. Prior to
  7 joining the MPA, I had a career in law enforcement and led teams specialized in
  8 investigating and prosecuting organized and computer crimes.
  9         2.     I submit this declaration in support of the motion for a preliminary
 10 injunction submitted by Plaintiffs Universal City Studios Productions LLLP,
 11 Universal City Studios LLC, Universal Television LLC, Universal Content
 12 Productions LLC, DreamWorks Animation LLC, Disney Enterprises, Inc.,
 13 Paramount Pictures Corporation, Amazon Content Services LLC, Apple Video
 14 Programming LLC, Warner Bros. Entertainment Inc., Netflix US, LLC, Columbia
 15 Pictures Industries, Inc., and Screen Gems, Inc. (collectively, “Plaintiffs”).
 16         3.     Except as otherwise noted, the contents of this declaration are based on
 17 my personal knowledge and the results of the investigation conducted by the GCP
 18 team and at my direction. The exhibits attached hereto were collected in
 19 conjunction with our investigation. If called as a witness in this action, I could and
 20 would testify competently to the contents of this declaration.
 21                                       Introduction
 22         4.     The MPA (https://www.motionpictures.org/) is the not-for-profit trade
 23 association that supports the film, television, and streaming industry. The MPA
 24 contributes to the work of global initiatives such as the Alliance for Creativity and
 25 Entertainment (“ACE”) (https://www.alliance4creativity.com/), which is a global
 26 coalition of leading stakeholders in the distribution ecosystem committed to
 27 protecting the growing legal dissemination of creative content and addressing the
 28 challenges of online piracy. ACE members include Plaintiffs, as well as other

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  1 legitimate services, creators, broadcasters, and other companies contributing to the
  2 legitimate distribution of creative content.
  3         5.     The GCP team is responsible for, among other work, investigating
  4 infringements of copyrights and working with counsel and law enforcement to halt
  5 and remedy such violations. My current role leading the GCP involves directing and
  6 supervising investigations related to online intellectual property infringement,
  7 including the unlawful dissemination of copyrighted motion pictures and television
  8 programs via live streaming and video-on-demand (“VOD”) delivery. Based on my
  9 work, I have extensive knowledge regarding the technology that enables online
 10 infringement, including circumvention and decryption tools, website and file hosting
 11 and operation, VOD and streaming content delivery systems, marketing,
 12 communication, and payment processing, and other functions supporting or related to
 13 online infringement. I also have experience with methods of identifying individuals
 14 and entities responsible for that infringement, including analyzing the aforementioned
 15 infringement technologies, such as analyzing and tracing internet protocol traffic, to
 16 establish a digital link between the operator and the infringement.
 17         6.     The investigation of Dwayne Anthony Johnson (“Mr. Johnson”) d/b/a
 18 AllAccessTV (“AATV”) and Quality Restreams, and the individuals or entities,
 19 who, along with Mr. Johnson, own or operate the infringing services of AATV and
 20 Quality Restreams (collectively with Mr. Johnson, “Defendants”), and the AATV
 21 and Quality Restreams services described herein was undertaken by the GCP team
 22 on behalf of Plaintiffs and in support of ACE’s efforts to protect the intellectual
 23 property rights of legitimate stakeholders in the streaming ecosystem.
 24               Investigation of the AATV and Quality Restreams Services
 25         7.     Through web-based application technology for platforms such as smart
 26 TVs, computers, set-top boxes, and mobile and tablet devices (“AATV Platforms”),
 27 the AATV service provides Internet Protocol television (“IPTV”)—a delivery
 28 method for transmitting content over Internet Protocol networks (as compared to

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  1 cable, satellite, or “over the air”). The AATV IPTV service provides subscribers
  2 with access to online streaming of thousands of channels of television, motion
  3 pictures, and sports programming, including works whose copyrights I understand are
  4 owned or controlled by Plaintiffs, including the works listed on Exhibit A to
  5 Plaintiffs’ Complaint in this matter (“Copyrighted Works”). The AATV service also
  6 offers its subscribers access to a VOD service, which provides on-demand viewing of
  7 thousands of movies and television shows, including the Copyrighted Works.
  8         8.     Quality Restreams is a related streaming enterprise that operates as a
  9 “content-provider” for various illicit IPTV services, including AATV. Quality
 10 Restreams provides these IPTV operators (and their customers) with unauthorized
 11 access to copyrighted movies and television programs through live television
 12 channels and VOD offerings.
 13         9.     After the GCP team became aware of the AATV and Quality
 14 Restreams services, and confirmed that the service was not authorized by Plaintiffs
 15 to stream their Copyrighted Works, members of my team, including our
 16 investigators, acting at my direction and under my supervision, subscribed to and
 17 tested the AATV service.1 The GCP team also investigated and reviewed
 18 information available on the Internet, including social media, related websites, and
 19 online discussion channels that provided additional information regarding
 20 Defendants’ operations and the AATV and Quality Restreams services.
 21         10.    Members of the GCP team and I have used the AATV Platforms as
 22 recently as this week to search for all of the titles listed on Exhibit A to Plaintiffs’
 23 Complaint. I can confirm that each of the identified Copyrighted Works have
 24 recently streamed on the AATV Platforms.
 25
 26   1
     As part of the GCP investigation, members of my team purchased subscriptions to
 27 AATV’s   IPTV and VOD services directly from aatvpanel.com and
    backoffice.vpnsafevault.com. The subscriber credentials obtained from these
 28 purchases were then used in California, thus confirming that the Copyrighted Works
    are being streamed to subscribers in California without the Plaintiffs’ authorization.
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  1 Identification of Parties Responsible for the AATV and Quality Restreams Services
  2           11.   Part of any investigation regarding an unauthorized pirate service
  3 involves trying to identify the responsible individuals and entities, as they typically
  4 take steps to obscure their involvement with the illicit operation. This investigative
  5 work includes, among other steps, tracing the registration of websites to their
  6 owners, analyzing internet protocol traffic, and reviewing social media and other
  7 online material for connections between individuals and the pirate service.
  8 The investigation of the AATV and Quality Restreams services followed these
  9 typical steps.
 10           12.   Using and analyzing the technology and internet protocol paths
 11 involved in the AATV and Quality Restreams services and platforms,
 12 GCP investigators identified a number of different domains connected to these
 13 operations: aatvdigitalmedia.com, aatvpanel.com, aatvapp.live, myaatv.com,
 14 aatvdigital.com, aatvwebplayer.com, allaccessiptv.com, allaccesstv.live,
 15 tv.allaccesstv.live, vod.allaccesstv.live, kids.allaccesstv.live, aatv.media,
 16 qualityrestreams.com, qsplaylist.com, qualitystreamz.guru, qsprovider.com,
 17 mediaflo.net, vpnsafevault.com, backoffice.vpnsafevault.com, and v2.dmdapi.com
 18 (collectively, the “Websites”).2
 19           13.   The GCP team’s investigation into the AATV and Quality Restreams
 20 services revealed that Dwayne Anthony Johnson is the owner and/or operator of the
 21 AATV and Quality Restreams services.
 22           14.   WHOIS is an online database that catalogues registration information
 23 for internet websites and domains. We used the DomainTools WHOIS research
 24 service to find recent and historical domain registrant information for the Websites.
 25 Our queries revealed that the registrant information for many of these domains is
 26 currently concealed by Domains by Proxy, a private registration service that allows
 27
 28   2
          Some of these Websites have been taken offline by Defendants.
                                                5
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  1 its customers to register domain names without listing their personal information.
  2 However, based on the available WHOIS information, my team determined that one
  3 of the Websites—allaccessiptv.com —is registered to Dwayne Johnson.
  4 The WHOIS information also lists an address in Coconut Creek, Florida, which
  5 from other evidence discussed below, appears to be the location of one of
  6 Mr. Johnson’s previous residences. In addition, a registrant disclosure request to
  7 Domains by Proxy for the domain myaatv.com revealed that the registrant for this
  8 domain is also Dwayne Johnson (with the same Coconut Creek, Florida address).
  9 The GCP team’s investigation into Mr. Johnson confirmed that he currently resides
 10 in Frisco, Texas and has been associated with a residential address located in
 11 Coconut Creek, Florida. Attached as Exhibit 1 is a true and correct copy of a
 12 screen capture of the DomainTools WHOIS search results for the allaccessiptv.com
 13 domain (certain identifying information has been redacted from this screenshot).
 14 Attached as Exhibit 2 is a true and correct copy of a screen capture of an email
 15 I received from a Domains By Proxy representative in response to the registrant
 16 disclosure request for the domain myaatv.com (certain identifying information has
 17 been redacted from this screenshot).
 18         15.   Online communication channels that the GCP team has monitored and
 19 investigated further show Mr. Johnson representing that he is the owner of the
 20 Quality Restreams and AATV services. For example, an individual utilizing the
 21 username DJ_Boxx has advertised the Quality Restreams service on the website
 22 IPTV.Community, a forum often used by operators of illicit IPTV services to
 23 advertise their services and connect with other operators. DJ_Boxx’s Skype ID is
 24 “Dwayne.johnson34,” and the GCP team has also confirmed that the listed date of
 25 birth on DJ_Boxx’s profile matches Mr. Johnson’s date of birth. Attached as
 26 Exhibit 3 is a true and correct copy of a screen capture of the post on
 27 IPTV.Community by DJ_Boxx advertising a content-source service under the name
 28 Quality Restreams. Attached as Exhibit 4 is a true and correct copy of a screen

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  1 capture of a thread post on IPTV.Community where DJ_Boxx states his Skype ID is
  2 dwayne.johnson34. Attached as Exhibit 5 is a true and correct copy of a screen
  3 capture of DJ_Boxx’s user profile on IPTV.Community (certain identifying
  4 information has been redacted from this screenshot).
  5           16.    In addition, Mr. Johnson’s personal Facebook page includes a post
  6 advertising a webinar hosted by him on how to become involved with a “Streaming
  7 TV Franchise Opportunity.” The advertisement includes the AATV logo and
  8 instructs users to register at http://aatvwebinar.com. Attached as Exhibit 6 is a true
  9 and correct copy of a screen capture of Mr. Johnson’s Facebook post advertising the
 10 webinar.
 11           17.    Mr. Johnson is also one of the creators and administrators of a private
 12 Facebook group titled MediaBoxx Corporation. As discussed in further detail
 13 below, this group was limited exclusively to AATV resellers.3 Attached as Exhibit
 14 7 are true and correct copies of screen captures of the homepage for the MediaBoxx
 15 Corporation Facebook group and of a capture showing that Mr. Johnson added the
 16 group’s header image, which features the AATV logo.
 17           18.    As discussed further below, Mr. Johnson expanded the AATV
 18 operation to the Philippines in late 2020. The GCP team’s investigation revealed
 19 that an individual named Kyu Lapiz is the primary recruiter of staff for the
 20 operation. In a post on her personal Facebook account, Lapiz directly named
 21 Mr. Johnson as her “boss.” A commenter replied to the post “[w]ay to go AATV.”
 22 Attached as Exhibit 8 is a true and correct copy of a screen capture of this
 23 Facebook post.
 24           19.    As explained in further detail below, Defendants currently sell AATV
 25 subscriptions via the site backoffice.vpnsafevault.com. Mr. Johnson is a registered
 26 manager of VPN Safe Vault LLC, a company that bears a virtually identical name
 27
 28   3
          Defendants have recently deleted this Facebook group.
                                                 7
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  1 to this domain. Attached as Exhibit 9 is a true and correct copy of a screen capture
  2 of the search results for “VPN Safe Vault LLC” on opencorporates.com, a website
  3 that shares data on corporations, showing Mr. Johnson as a registered manager for
  4 VPN Safe Vault LLC.
  5         20.   The evidence gathered in our investigation also supports the conclusion
  6 that Mr. Johnson operates an entity called The MediaBoxx, which he uses to
  7 promote and provide support to resellers of AATV. See ¶ 17. The domains
  8 qualityrestreams.com, qsplaylist.com, and qsprovider.com have all used the
  9 IP address 50.7.69.202. Querying this IP address on CentralOps.net, an online
 10 service that provides tools for, among other things, investigating domain names and
 11 IP addresses, revealed that this address is within a range of IP addresses
 12 (50.7.69.200 - 50.7.69.207) leased to The MediaBoxx by FDC Servers.net, LLC
 13 (“FDC Servers”), a provider of Internet server and hosting services. Likewise, the
 14 IP address 23.237.94.34, which has been used by domains qsplaylist.com,
 15 myaatv.com, and allaccessiptv.com, is also within a range leased to The
 16 Mediaboxx.4
 17                        How Defendants’ AATV Service Works
 18         21.   Currently, Defendants’ primary public-facing website for their AATV
 19 service is aatvdigitalmedia.com, a domain name that obscures the fact that it has
 20 been used to sell subscriptions to unauthorized streaming services.5 As explained in
 21 greater detail below, in June 2021, via aatvdigitalmedia.com, subscribers could
 22 access the website aatvpanel.com, another AATV affiliated site. Through
 23 aatvpanel.com, Defendants, via third-party resellers, sold AATV subscriptions and
 24 distributed user credentials which could be used to access the IPTV and VOD
 25 services, as discussed below. Just recently, Defendants changed their method for
 26
 27   Until recently, one of mediaflo.net’s subdomains, shou06.mediaflo.net, used the
      4

 28 IP address 23.237.162.170. This IP address is also hosted by FDC Servers.
    5
      In late 2020, Defendants’ primary public-facing website was aatvdigital.com.
                                               8
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  1 purchasing and managing AATV subscriptions, directing users to the site
  2 backoffice.vpnsafevault.com. Based on the GCP team’s investigation, I will walk
  3 through how a new subscriber would purchase and use the AATV service in both
  4 June 2021 and November 2021, as well as how the unauthorized service operates to
  5 provide the unauthorized content.
  6            22.   New subscribers must personally connect with an AATV reseller to
  7 purchase an AATV subscription. In June 2021, after connecting with a reseller,
  8 subscribers were first directed to aatvdigitalmedia.com.6 Once at the
  9 aatvdigitalmedia.com homepage, subscribers were then instructed by the reseller to
 10 click on a button titled “Sign Up for $10/month.” Attached as Exhibit 10 is a true
 11 and correct copy of a screen capture of the homepage for aatvdigitalmedia.com.
 12 After clicking on this button, subscribers were redirected to aatvpanel.com, where
 13 they were able to sign up for the AATV service. Once at the aatvpanel.com
 14 website, subscribers filled out their personal information and entered a numerical
 15 sponsor ID provided by the reseller they connected with. Attached as Exhibit 11 is
 16 a true and correct copy of a screen capture of the sign-up panel on the
 17 aatvpanel.com website.
 18            23.   After inputting the sponsor ID provided by a reseller, subscribers were
 19 then directed to choose an IPTV subscription package (referred to as “products”).
 20 The pricing for these packages varies depending on the number of connections,
 21 i.e., the number of devices that can access the service, a subscriber selects. At the
 22 time of GCP’s investigation, Defendants charged $10.00 for 1 connection, $20.00
 23 for 3 connections, $25.00 for 5 connections, and $45.00 for 10 connections.
 24            24.   After choosing the number of connections desired, subscribers were then
 25 directed to choose paid “add-on” packages. These “add-on” packages include the
 26 “Premium Package,” which provides users with access to VOD and “Premium Movie”
 27
 28   6
          Aatvdigitalmedia.com is still operating and accessible to the public.
                                                  9
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   1 content for an additional $15.00 per month, and the “All In” package for an additional
   2 $25.00 per month, which includes everything in Defendants’ “Ala Cart” section.
   3 Subscribers were also able to “add-on” certain international channels at no additional
   4 charge. Apart from charging a monthly fee for their services, Defendants also charged
   5 an additional one-time $25.00 activation fee. Attached as Exhibit 12 are true and
   6 correct copies of screen captures from aatvpanel.com showing the offerings available
   7 for purchase (IPTV subscriptions, VOD subscriptions, and other “add-ons”).
   8         25.    After choosing a package, subscribers were then prompted to enter
   9 payment and billing information. After a subscriber entered their billing information,
  10 Defendants sent subscribers a confirmation message with a numerical username and
  11 directed subscribers to create an account password. These are the same credentials
  12 (username and password) a subscriber uses to access the AATV Platforms.
  13 Subscribers were also able to use these credentials to manage their subscriptions on the
  14 aatvpanel.com website. Attached as Exhibit 13 is a true and correct copy of a screen
  15 capture of an email received by a GCP investigator after purchasing an AATV
  16 subscription via aatvpanel.com (certain identifying information has been redacted from
  17 this screenshot). Attached as Exhibit 14 is a true and correct copy of a screen capture
  18 of the main subscriber page on the aatvpanel.com website (certain identifying
  19 information has been redacted from this screenshot).
  20         26.    Currently, Defendants sell AATV subscriptions through
  21 backoffice.vpnsafevault.com, a website that is stripped of all AATV branding and
  22 designed to appear like it sells VPN software to consumers. However, Defendants
  23 are actually selling subscriptions to their AATV service through this site. Unlike
  24 with aatvpanel.com, Defendants are not using aatvdigitalmedia.com to link
  25 subscribers to the backoffice.vpnsafevault.com site to sign up for the AATV
  26 service. Rather, subscribers now receive verbal instructions on how to access this
  27 site. In late October 2021, a GCP investigator contacted AATV’s “support line,”
  28 and was directed to backoffice.vpnsafevault.com to renew his AATV subscription.

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   1 The GCP investigator was able to renew his AATV subscription and obtain
   2 credentials to access the AATV Platforms through the site. Further, just as recently
   3 as last week, the GCP team confirmed that the process to purchase an AATV
   4 subscription and create user credentials is the same as it was via aatvpanel.com.
   5 Attached as Exhibit 15 are true and correct copies of screen captures of the
   6 homepage and log-in page for backoffice.vpnsafevault.com.
   7         27.    Although aatvpanel.com appears to recently have been taken offline by
   8 Defendants, based on my experience investigating unauthorized IPTV services,
   9 operators of illicit IPTV services usually take certain websites offline to make it appear
  10 as though they have permanently shut down their infringing services, only to later
  11 replace those websites with new ones. It is also common for operators of illicit IPTV
  12 services to provide instructions on how to purchase access to their services via word of
  13 mouth only. In my experience, these actions evidence an intent to operate IPTV
  14 services in a covert manner because the operators know their services are illegal.
  15         28.    Regardless of which site users use to purchase an AATV subscription,
  16 subscribers must download an AATV Platform to access the AATV service. In order
  17 to download and access the AATV Platforms, a subscriber must text message
  18 Defendants’ “24/7 text support line” and connect with an AATV tech support agent.
  19 The AATV tech support agent provides subscribers with detailed instructions on how
  20 to download and install the most appropriate AATV Platform for their device and
  21 ultimately obtain IPTV streaming. For example, subscribers who use iOS devices are
  22 instructed to download the “Supa Legacy IPTV” application to access the AATV
  23 service. After downloading the application, users must take a photo of their MAC
  24 address and connect with an AATV tech support agent, who then activates their
  25 device. Subscribers that use the “Supa Legacy IPTV” application can access
  26 AATV’s live and VOD offerings via this same application. Attached as Exhibit 16
  27 are true and correct copies of screen captures of the Supa Legacy IPTV application
  28 before and after activation by an AATV agent.

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   1         29.    For subscribers who use Android devices, a subscriber must first visit
   2 the following links to download the live, VOD, and kids’ applications:
   3 http://tv.allaccesstv.live/, http://vod.allaccesstv.live/, and http://kids.allaccesstv.live.
   4 Subscribers who use Android devices must therefore use separate applications to
   5 access AATV’s live and VOD offerings. After downloading the correct
   6 application, the subscriber then enters their credentials to access the AATV
   7 Platforms.7 Attached as Exhibit 17 are true and correct copies of screen captures of
   8 the live and VOD interfaces for the Android AATV Platforms (certain identifying
   9 information has been redacted from this screenshot).
  10         30.    Upon visiting one of the AATV Platforms (by downloading and
  11 installing one of the applications for use on a smart TVs, computer, set-top box, and
  12 mobile and tablet devices) and entering the purchased AATV credentials,
  13 subscribers see a welcome screen from where they can access IPTV streaming.
  14 Attached as Exhibit 18 are true and correct copies of screen captures of the
  15 welcome pages for the AATV Platforms.
  16         31.    There are thousands of channel offerings available for immediate
  17 streaming via the AATV Platforms. At the time of the GCP investigation, there
  18 were approximately 2,500 such channels. These channel offerings are of two types:
  19 (1) unauthorized streams from legitimate pre-programmed channels, such as ABC,
  20 NBC, and Fox; and (2) what Defendants describe as “24/7” channels, which offer
  21 specially curated channels not available on any legitimate service.
  22         32.    The AATV Platforms employ organized and user-friendly interfaces
  23 through which subscribers can navigate the thousands of pre-programmed live
  24 television channels available on the AATV Platforms. The channel offerings
  25 include paid cable channels such as A&E, MTV, BET, Comedy Central, USA
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  28    The AATV Platforms for Android users use the domain v2.dmdapi.com to
       authenticate user requests on the backend of the applications.
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   1 Network, as well as premium channels such as HBO and Cinemax. The channel
   2 offerings also include live channels from multiple cities across the United States.
   3 As a result, AATV subscribers may obtain streams of broadcasts from outside of the
   4 geographic area where the subscribers are located. Depicted below and attached as
   5 Exhibit 19 are true and correct copies of screen captures of pre-programmed live
   6 channels available on the AATV Platforms showing Plaintiffs’ Copyrighted Works.
   7         33.    Based on my experience investigating unauthorized IPTV services, the
   8 AATV services’ offering of live pre-programmed channels entails that Defendants or
   9 upstream suppliers have circumvented technological protection measures that control
  10 access to the original broadcasts and redirected the licensed transmission path to the
  11 downstream service—in this case the AATV service. The result for AATV
  12 subscribers is that these channels are streamed, without authorization, virtually at the
  13 same time as the channel offerings are disseminated from licensed sources.
  14         34.    In addition to unauthorized live pre-programmed channels, the AATV
  15 service also offers access to a collection of title, franchise, and genre-curated
  16 channels, which they call “24/7” channels because they stream on a continuous
  17 loop. These 24/7 channels can be devoted exclusively to a single television series
  18 or collection of movies, streaming on repeat. To illustrate, when a AATV
  19 subscriber clicks on a 24/7 channel devoted to a single movie, the movie does not
  20 start playing from the beginning (as would be the case with on-demand viewing).
  21 Instead, the subscriber receives a stream of that particular movie at the same point
  22 in the movie’s runtime that other subscribers receiving the same transmission are
  23 receiving it. This stream continues until the movie ends, at which point the AATV
  24 service starts streaming the movie again from the beginning. Attached as Exhibit
  25 20 are true and correct copies of screen captures reflecting two 24/7 channels
  26 dedicated to streaming Plaintiffs’ Copyrighted Works.
  27         35.    Based on my experience investigating unauthorized streaming services
  28 and my familiarity with the technology that enables these services, the operation of

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   1 the 24/7 channels necessarily requires the creation of digital copies of the particular
   2 Copyrighted Works being streamed on these channels. This is because, unlike
   3 Defendants’ unauthorized live pre-programmed channels, the 24/7 channels are not
   4 offered by any legitimate service, so they must be digitally curated and compiled
   5 into a library before they can be transmitted through the AATV Platforms. That
   6 creation process necessarily entails reproducing copies of the relevant television
   7 program(s) or movie(s) to assemble them into a form that can be streamed
   8 continuously.
   9         36.   Apart from live pre-programmed and “24/7” channels, Defendants also
  10 provide VOD offerings via the AATV Platforms. Subscribers using iOS devices can
  11 access AATV’s VOD offerings through the same AATV Platform (Supa Legacy
  12 IPTV) used to access AATV’s IPTV service. Subscribers using Android devices can
  13 access the VOD offerings via a separate application. All of the AATV Platforms,
  14 regardless of whether the platforms are being used on an iOS or Android device, can
  15 be accessed using the same credentials created during the sign-up process.
  16         37.   The AATV VOD Platforms contain over 600 movie titles and 600
  17 television series. Because television series often include multiple seasons, with
  18 multiple episodes, the actual number of television programs offered via VOD is
  19 likely in the thousands. The VOD interface on the AATV Platform for Android
  20 users organizes the movie and television series offerings into categories, including
  21 the legitimate streaming services on which the movies and television series appear,
  22 such as “Netflix,” “Amazon Prime Video,” “Hulu,” “HBOMax,” and “Disney+,” as
  23 depicted in part in the image below. AATV’s VOD library includes content
  24 exclusively found on these streaming services.
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  10          38.   Once a subscriber selects a VOD offering, the title, along with an
  11 image showing a theatrical poster or cover art for the title, appears on the
  12 subscriber’s screen. After clicking “play” on the title that a subscriber wishes to
  13 view, the subscriber will receive a stream of the movie or television show from the
  14 beginning “on demand.” Attached as Exhibit 21 are true and correct copies of
  15 screen captures reflecting certain VOD offerings of Plaintiffs’ Copyrighted Works
  16 on the AATV VOD Platforms.
  17          39.   Based on my experience investigating unauthorized streaming services and
  18 my familiarity with the operation of VOD services and their technology, the provision of
  19 a library of on-demand content requires the creation of digital copies of Plaintiffs’
  20 Copyrighted Works, which are then stored on servers and streamed “on demand.”
  21                   How Defendants’ Quality Restreams Service Works
  22          40.   Quality Restreams provides content, i.e., live channels and VOD
  23 offerings, to several third-party IPTV services via certain IP addresses and/or
  24 domain-based access.
  25          41.   In particular, Quality Restreams uses several disparate domains in
  26 order to stream and provide content to IPTV operators, including
  27 qualityrestreams.com, qsplaylist.com, qualitystreamz.guru, and qsprovider.com.
  28 For example, our investigation revealed that CosmosTV, an unauthorized third-

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   1 party IPTV service, was sourcing content from a content delivery server located at
   2 IP address 23.237.94.34. By analyzing the DomainTools Domain Name System
   3 (DNS) information for this IP address, the GPS team determined that this IP address
   4 was used by several domains owned and/or operated by Defendants, including
   5 qsplaylist.com, myaatv.com, and allaccessiptv.com. Likewise, StreamBuddy.ca,
   6 a third-party IPTV service, was sourcing content from a content delivery server
   7 located at IP address 50.7.69.202, an IP address used by the domain
   8 qualityrestreams.com.
   9         42.    The evidence gathered in our investigation also supports the conclusion
  10 that AATV obtains its content from Quality Restreams. Among other things,
  11 AATV’s content is sourced from mediaflo.net.8 Until recently, mediaflo.net’s
  12 subdomain, shou06.mediaflo.net, used the IP address 23.237.162.170, an address
  13 that is very close to an IP address used by the domain qsplaylist.com. Moreover, by
  14 analyzing the internet protocol traffic for the AATV Platform for Android users, the
  15 GCP team determined that the platform sourced certain of its images from the
  16 domain qsplaylist.com at the IP address 23.237.94.34.9 Further, the domain
  17 aatvapp.live has used the IP address 104.243.41.74, an IP address that has been used
  18 by the domains qsplaylist.com, qualitystreamz.guru, and qsprovider.com.
  19         43.    As discussed above, the evidence gathered in GCP’s investigation
  20 strongly supports the conclusion that Defendants, the AATV Platforms, and the
  21 Quality Restreams service are employing their Websites and technology to transmit
  22 the unauthorized live channels and 24/7 channels, as well as the VOD offerings.
  23                                 Defendants’ Reseller Network
  24         44.    Defendants have created and grown a network of resellers who market
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  26
       8
       In late 2020, the AATV Platform for iOS users sourced its content mainly from
  27 qsplaylist.com.
     9
  28 A current analysis of internet protocol traffic for the AATV Platform for Android
     users shows that it currently sources its images from allaccesstv.live and mediaflo.net.
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   1 and promote AATV to attract new subscribers to the illegal service and to sell
   2 AATV subscriptions on their behalf.
   3         45.   Defendants operate the reseller program like a multilevel marketing
   4 scheme. The reseller program essentially works like this: Defendants recruit
   5 individuals, namely existing AATV customers, to market and sell subscriptions to
   6 end users on their behalf. Resellers then earn money based on their recruits’ sales
   7 as well as their own. For example, in 2020, if a recruit sold a $25 per month
   8 subscription, the reseller that recruited him or her earned a $10 commission on that
   9 sale. As a result, resellers are encouraged to recruit as many individuals as possible
  10 to sell AATV subscriptions in order to maximize their commissions. Attached as
  11 Exhibit 22 is a true and correct copy of a receipt for an AATV subscription
  12 showing a $10 upline for a reseller on an order of $25 (certain identifying
  13 information has been redacted from this screenshot).
  14         46.   Mr. Johnson himself has advertised the reseller program as a
  15 “streaming TV franchise opportunity,” where resellers have the potential to earn
  16 large salaries, obtain car and mortgage allowances, and discounts on their own
  17 AATV subscriptions (as shown in the image below). Mr. Johnson has also claimed
  18 that several resellers have earned six figure residuals in 2020, as depicted below.
  19 Attached as Exhibits 23 and 24 are true and correct copies of screen captures of
  20 certain of Mr. Johnson’s social media posts containing these advertisements.
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  17         47.   Defendants’ reseller network is already expansive and we have reason
  18 to believe that it is only growing. For example, Mr. Johnson has boasted on social
  19 media platforms to have over 600+ “[s]ales agents.” See Ex. 24. Defendants’
  20 private Facebook group for AATV resellers (described above) had over 780
  21 members in late 2020. See Ex. 7. And, as described above, Defendants have also
  22 expanded their reseller program to the Philippines.
  23         48.   Defendants’ resellers are located throughout the country, including in
  24 California. These resellers also sell AATV subscriptions to individuals located in
  25 California. For example, in 2020 and 2021, one of Defendants’ resellers sold
  26 AATV subscriptions to a GCP investigator located in California. Attached as
  27 Exhibit 25 are true and correct copies of screen captures of communications
  28 between the GCP investigator and Defendants’ reseller.

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                              Defendants' Efforts to Conceal Their Infringing Conduct
            2          49.    Our investigation has revealed that Defendants have taken a number of
            3    steps to avoid detection of their continued in nging conduct.
            4          50.    To start, Defendants have failed to register AATV and Quality
                 Restreams as corporate entities.

            6          S1.    In addition, as described above, Defendants also use a complex and

                  cemingly endless web of various websites, domain names, and applications to

            8    operate their infringing AATV and Quality Restreamsservices. Indeed, the
            9    registrant information for many of thedomains underlying both the AATV and
           10|   Quality Restreams services are shielded by privacy proxies, including
           11| aatvdigitalmedia.com, allaccesstv.live, and media o.net. As mentioned above, the
           12    GCP team only discovered Mr. Johnson's identity as the registrant for myaatv.com

          13     through a Domains by Proxy registrant request. Based on my experience
           14|   investigating unauthorized IPTV services,many operators of illegal IPTV services
          1s     choose to register domain names through a proxy in an attempt to conceal their
           16| connection with the unlawful services.

          17           52.    Moreover, Defendants have seemingly set-up the reseller network in a

          18| way that helps keep their role as the orchestrators of these enterprises concealed.
           19    For instance, it is not possible to purchasean AATV subscription directly from
          20| Mr. Johnson. GCP investigators tried to purchase an AATV subscription from
           21|   Mr. Johnson himselfon multiple occasions but were unable to reach him.

          22           I declare under penalty of perjury under the laws of the United States that the
           23|   foregoing is true and correct, and that this declaration was executed on this lst day
           24| of December2021 atRedondoBeach, California.
           2s/
          26                                           Jan Van Voom
          27|
          28
                                                          19
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